Case 3:10-cr-30118-DRH    Document
         Case 3:10-cr-30118-DRH    70 Filed
                                Document  7011/15/10   Page 1Page
                                              Filed 11/15/10  of 1 1 Page
                                                                     of 1 ID #208



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                    )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           )       No. 10-cr-30118-DRH
                                              )
 MICHAEL LENTINE,                             )
                                              )
        Defendant.                            )


                                             ORDER

 HERNDON, Chief Judge:

        This matter is before the Court on the Motion of the United States pursuant to Rule 17(c)(1)

 of the Federal Rules of Criminal Procedure and the All Writs Act, 28 U.S.C. §1651, for an order

 compelling JP Morgan Chase Bank, N.A. to produce certain documents described in a trial subpoena

 prior to the sentencing hearing.

        The Court finds that the government’s motion is well taken and the same is GRANTED. IT

 IS HEREBY ORDERED that JP Morgan Chase Bank, N.A. produce the requested documents to the

 attorney for the government, Bruce Reppert, Assistant U.S. Attorney, 9 Executive Drive, Fairview

 Heights, Illinois 62208 on or before December 17, 2010.

        IT IS SO ORDERED.

                                                                   David R. Herndon
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                                              DAVID R. HERNDON
                                              Chief Judge
                                              United States District Court
